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 6                    IN THE UNITED STATES DISTRICT COURT FOR THE
 7                              EASTERN DISTRICT OF CALIFORNIA
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        MARIA TORRES and MELCHOR            )              CV F 02-6385 AWI LJO
 9      TORRES, individually and as         )
        Administrators of the Estate of     )              CONSOLIDATED WITH CV F 03-5999
10      EVERARDO TORRES,                    )
                                            )
11                        Plaintiffs,       )
               v.                           )              ORDER VACATING JUNE 20, 2005
12                                          )              HEARING DATE AND TAKING
        CITY OF MADERA, MARCY               )              MATTER UNDER SUBMISSION
13      NORIEGA, individually and as a      )
        member of the Madera Police         )
14      Department, and DOES 1 through 50,  )
        inclusive,                          )
15                        Defendants.       )
        ___________________________________ )
16                                          )
        AND RELATED CROSS-ACTIONS           )
17      ____________________________________)
18
19          Plaintiffs’ motion for certification pursuant to Rule 54(b) has been set for hearing in this
20   case on June 20, 2005. The court has reviewed the papers and has determined that this matter is
21   suitable for decision without oral argument. Local Rule 78-230(h). Therefore, IT IS HEREBY
22   ORDERED that the previously set hearing date of June 20, 2005, is VACATED, and the parties
23   shall not appear at that time. As of June 20, 2005, the court will take the matter under
24   submission, and will thereafter issue its decision.
25   IT IS SO ORDERED.
26   Dated:     June 14, 2005                           /s/ Anthony W. Ishii
     0m8i78                                       UNITED STATES DISTRICT JUDGE
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